              Case 1:19-mj-00443-MSN  Document 10 Filed 10/18/19 Page 1 of 1 PageID# 18
                                 UNtTED ST AXES DtSTRJCT COUK
                                    eastern district of vxrgenia
                                           AJLEKANDRIA DtVIStON

                                                        MAGISTRATE JUDGE: THERESA CARRROLE BUCHANAN


    UNITED STATES OF AMERICA
                                                         HEARING: ficTvi tWWf^SE //
                -VS-
                                                         DATE: .                              TIME: <9'00p.     on


                                                             TYPE: FTR RECORDER            DEPUTY Cl ERIC- T FITZGERALD




COUNSEL FOR THE UNITED STATES^

COUNSEL FOR THE DEFENDANT;
                                                               E ■ OnolTlAhco
                                                                   LANGUAGE:
NTERPRETER:                    ^


      )DEFENDANT APPEARED: (           )WITH COUNSEL              (       )WITHOUT COUNSEL
      )DEFT. INFORMED OF RIGHTS, CHARGES,PENALTIES and/or VIOLATIONS
      )COURTTO APPOINT COUNSEL                                    (        1       TO RETAIN COUNSEL
       )GVT. CALL WITNESS 8c ADDUCES EVIDENCE

       )EXHBIT If                     ADMITTED
       )PROBABLE CAUSE: FOUND(         )/NOT FOUND( )
       )PRELIMINARY HEARING WAIVED

       )MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY
       ) DEFT. ADMITS VIOOXTION(        )DFT. DENIES VIOLATION (               )COURT FINDS OFT. IN VIOUTION
                                                                                  <LcunSe.\. Qj
                                                                                                    l/v ofune<t.>+-
                                                                                        V-M.                  .
                   ccnrMrr (^
       1 APPROVED RESIDENCE         ISATTf
                                    )SAi i t       } PAY COSTS(        ) EILCTRONIC
                                                                       ,                MONlLORlNGJ(      )MENTAL HEALTH
TEST/TREAT(         } ROL(   ) NOT DRIVE(          ) EIREARM(         ) PASSPORT ( )AVOID CONTACT
{      ) ALCOHOL & DRUG USE(        ) EMPLOYMENT
 (^ ^
    X )^ OEEENDANT REMANDED
                    ..
                            TO THE CUSTODY  OE THE U 5 MARSHAIsiok^^MJ^^^
                                     Y-nMnirinM«; OF PROI^AITON
          DCFENDANr CONTINUED ON SAME CONOITIONS OF PROBAIION
                                                   at                      Rcturc
 next COUKI AIH^LARANCE:                                                                               SRV
                                       TRIAI.  (   ) IURY(     ) PU A (    1 SijN I (    ) f'1.3V
 /   i ni l f \ pn ( 1 s r atus I
